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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

YOUNG CONSERVATIVES         TEXAS § OF
FOUNDATION                         §
                                   §
     v.                            §
                                   §
THE UNIVERSITY OF NORTH TEXAS, THE §                         CIVIL ACTION NO. 4:20-CV-973
UNIVERSITY OF NORTH TEXAS SYSTEM, §
NEAL SMATRESK, PRESIDENT OF THE §
UNIVERSITY OF NORTH TEXAS and §
SHANNON GOODMAN, VICE PRESIDENT §
FOR ENROLLMENT OF THE UNIVERSITY §
OF NORTH TEXAS;                    §
                                   §

                                     SCHEDULING ORDER

         The Court, after reviewing the case management report required by Federal Rule of Civil
Procedure 26(f) and conferring with the parties either by e-mail or scheduling conference, enters
this case-specific order which controls disposition of this action pending further order of the Court.
The following actions shall be completed by the dates indicated.

                                           DEADLINES


Deadline to Add Parties:       The parties do not anticipate the need to add parties. Should the
                               need arise, the parties will seek leave of court pursuant to Fed. R.
                               Civ. P. 15.

Fact Discovery Deadline:       Fact discovery shall commence immediately and must be completed
                               by within sixty days of this Court’s order on the currently pending
                               Motion to Dismiss (Dkt. #7). Any fact discovery requests must be
                               propounded so that the responses are due by this date.

Expert Deadlines:              The parties do not anticipate expert testimony. Should the need
                               arise, the parties will propose a schedule to the court regarding the
                               same.

Dispositive Motions:           Plaintiff’s Motion for Summary Judgment and Memorandum in
                               Support, (Dkt. #6), is currently stayed before this Court pending its
                               ruling on Defendants’ Motion to Dismiss Pursuant to Rules 12(b)(1)
                               and (6), (Dkt. #7). This Court has indicated that it will issue an order
                               setting the briefing deadlines on Plaintiff’s summary-judgment
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                       motion. (Dkt. #23). The parties request that this court also set a
                       briefing schedule for Defendants’ dispositive motions, if any, at that
                       time.

Trial Deadlines:       The parties anticipate that this case will be resolved on dispositive
                       motions. In the event that this case is not resolved on motions, the
                       parties will confer to provide an amended schedule for trial related
                       deadlines.



        So ORDERED and SIGNED this           day of                  , 2021,




                                               ____________________________________
                                               SEAN D. JORDAN
                                               UNITED STATES DISTRICT JUDGE




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